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                                      UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF MINNESOTA


 In re:                                                       Case No.: 15-50792

 Diocese of Duluth,                                           Chapter 11

                   Debtor.



   ORDER APPROVING SETTLEMENT AGREEMENT BETWEEN THE DIOCESE, THE
    PARISHES, THE CONTINENTAL INSURANCE COMPANY AND THE OFFICIAL
                  COMMITTEE OF UNSECURED CREDITORS


            This case is before the court on the debtor’s motion for an order approving the

 settlement agreement, release, and policy buyback between the debtor, the parishes, Continental

 Insurance Company, and the Committee of Unsecured Creditors filed on June 13, 2018

 [Docket No. 338] pursuant to sections 105(a) and 363(b), (f), and (m) of the Bankruptcy Code,

 Federal Rules of Bankruptcy Procedure 7052, 9014, and 9019, and Local Rules 2002-1, 9013-1,

 and 9013-2 for entry of an order (1) approving the settlement set forth in the Settlement

 Agreement, Release, and Policy Buyback attached to the motion as Exhibit A, (2) authorizing the

 debtor to sell the Diocese Policies, (3) enjoining all claims against Continental under the Diocese

 Policies, (4) approving the manner and form of notice of the motion and the proposed injunction,

 and (5) granting such other relief as is just and proper.

            Based on the motion and the file the court makes the following

 findings of fact and conclusions of law:



NOTICE OF ELECTRONIC ENTRY AND
FILING ORDER OR JUDGMENT
Filed and Docket Entry made on 06/28/2018
Lori Vosejpka, Clerk, by LH
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                                           FINDINGS OF FACT


       A.      Adequate notice of the motion and of the hearing on the motion was given by

mailing a copy of the motion and notice of the hearing on the motion to: (1) counsel for the

committee, (2) all other persons or entities that, as of the date the motion was filed, had filed a

notice of appearance or other demand for service of papers in this case or are otherwise entitled

to notice under Local Rule 9013-3, (3) insurers that are or were parties to the declaratory

judgment action brought by the debtor and currently pending in district court as Diocese of

Duluth v. Liberty Mutual Insurance Company, et al., Case No. 0:17-cv-03254-DWF-LIP, (4)

counsel to Continental, (5) the United States Trustee, and (6) counsel for each of the parishes

named in the settlement agreement.

       B.      The debtor, the parishes, the committee, and Continental have agreed that, upon

the occurrence (or waiver) of the conditions contained in the settlement agreement and payment

of the settlement amount by Continental, and the running of any applicable appeal periods, this

order shall satisfy and extinguish in full all of the obligations of Continental under, arising out of,

or relating to the Diocese Policies.

       C.      The debtor, the parishes, the committee, and Continental have agreed that, upon

the occurrence (or waiver) of the conditions contained in the settlement agreement and payment

of the settlement amount by Continental, and the running of any applicable appeal periods, all

limits of liability under the Diocese Policies are exhausted.

        IT IS ORDERED:                 CONCLUSIONS OF LAW




       1.      The motion is granted and the settlement agreement is approved.

       2.      The debtor, the parishes, the committee, and Continental shall perform their

obligations pursuant to the terms and conditions of the settlement agreement.



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       3.      In exchange for the settlement amount, and upon payment of the same to the

debtor, and without any further action being required, Continental shall be deemed to have

bought back the Diocese Policies free and clear of all interests of all entities, including all

interests of the debtor, the parishes, and other persons claiming coverage by, through, or on

behalf of the debtor, any of the parishes, any other insurer, and any entity holding a claim against

any of the debtor or its parishes.

       4.      Such sale of the Diocese Policies is made by the debtor to Continental pursuant to

sections 363(b), (f), and (m) of the Bankruptcy Code.

       5.      Continental is a good faith purchaser within the meaning of section 363(m) of the

Bankruptcy Code.

       6.      The consideration exchanged, including the settlement amount, constitutes a fair

and reasonable settlement of the parties’ disputes and of their respective rights and obligations

relating to the Diocese Policies and constitutes reasonably equivalent value.

       7.      The releases set forth in the settlement agreement comply with the Bankruptcy

Code and applicable nonbankruptcy law.

       8.      Upon entry of this order, the expiration of any appeal periods related thereto, and

the payment by Continental of the settlement amount after the occurrence (or waiver) of the

conditions contained in the settlement agreement, the Diocese Policies and interests shall be

terminated and of no further force and effect.

       9.      Continental’s payment of the settlement amount constitutes its full and complete

performance of any and all obligations under the Diocese Policies and with respect to the

foregoing interests, including any performance owed to the debtor and its bankruptcy estate, and

exhausts all limits of liability of the Diocese Policies and with respect to the interests.



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       10.     Upon the occurrence (or waiver) of the conditions contained in the settlement

agreement and payment of the settlement amount by Continental, all interests the debtor may

have had, may presently have, or in the future may have in the Diocese Policies are released

pursuant to the terms of the settlement agreement.

       11.     This order shall not limit or preclude the entry or effectiveness of any injunctions

that may be granted or protect Continental in connection with, or as a part of, any order

confirming a chapter 11 plan, as required as a condition to payment of the settlement amount

under the settlement agreement or otherwise, including with respect to rights of contribution,

subrogation, reimbursement, indemnification, or similar claim.

       12.     The court retains jurisdiction to resolve any disputes that may arise in respect of

the implementation of the settlement agreement, which shall be construed in accordance with

Minnesota law, or the interpretation or enforcement of this order.

       13.     The settlement agreement and this order are binding upon the parties to the

settlement agreement, the reorganized debtor, any trust or trustee for the debtor, its assets, or its

liabilities, and shall survive the confirmation of any plan of reorganization for the debtor.



Dated: June 28, 2018

                                                      _______________________________
                                                      /e/ Robert J. Kressel
                                                      United States Bankruptcy Judge




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